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    7   POLICE OFFICERS HERRERA,
        MCCASKILL, MCSHANE, PEDROZA,
    8   CRABTREE and PEREZ
    9
                           UNITED STATES DISTRICT COURT
   10
                          CENTRAL DISTRICT OF CALIFORNIA
   11
   12
        LOURDES TOMAN, an individual, Case No. 8:20-cv-00046-DOC-KES
   13   ANTONIO PAREDES, an
        individual, and ALAN CASTRO, an Hon. David O. Carter
   14   individual,
                                            DEFENDANTS, FULLERTON POLICE
   15                 Plaintiffs,           OFFICERS HERRERA, MCCASKILL,
                                            MCSHANE, PEDROZA, CRABTREE
   16          vs.                          AND PEREZ’S, ANSWER TO
                                            PLAINTIFFS’ COMPLAINT
   17   BREA POLICE OFFICER JERRY
        GLOMBOSKE, sued in his
   18   individual capacity; FULLERTON
        POLICE OFFICERS CRABTREE,
   19   HERRERA, MCCASKILL,
        MCSHANE, PEDROZA, and
   20   PEREZ, all sued in their individual
        capacities, and DOES 1-10,
   21   inclusive;
   22              Defendants.
   23
   24
   25
   26
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   28
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                                 ANSWER TO COMPLAINT
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    1                              ANSWER TO COMPLAINT
    2         Answering Plaintiffs’ Complaint for (1) Unreasonable Search in Violation of
    3   42 U.S.C. § 1983 [Fourth Amendment]; (2) Excessive Force/Unreasonable Seizure
    4   in Violation of 42 U.S.C. § 1983 [Fourth Amendment]; (3) Unlawful
    5   Arrest/Unreasonable Seizure in Violation of 42 U.S.C. § 1983 [Fourth
    6   Amendment]; (4) Retaliation in Violation of 42 U.S.C. § 1983 [Fourth
    7   Amendment]; (5) Unreasonable Search in Violation of Cal. Const. Art. I § 13 [Cal.
    8   Civ. Code § 52.1]; (6) Excessive Force/Unreasonable Seizure in Violation of Cal.
    9   Const. Art. I § 13 [Cal. Civ. Code § 52.1]; (7) Unreasonable Seizure/False Arrest
   10   in Violation of Cal. Const. Art. I § 13 [Cal. Civ. Code § 52.1]; (8) Deprivation of
   11   Rights in Violation of Cal. Civ. Code § 52.1; (9) Assault and Battery; and (1)
   12   Tortious Interference with Contract. Defendants City of Fullerton Police Officers
   13   Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez deny and allege as
   14   follows:
   15
   16                                  I.     JURISDICTION
   17         1.     Answering paragraph 1 of the Complaint, insofar as the allegations of
   18   this paragraph contain legal conclusions, no answer is required. To the extent an
   19   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
   20   Perez admit that this Court has jurisdiction over this case insofar as this case arises
   21   under 28 U.S.C. § 1331 and 42 U.S.C. § 1983.
   22         2.     Answering paragraph 2 of the Complaint, insofar as the allegations of
   23   this paragraph contain legal conclusions, no answer is required. To the extent an
   24   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
   25   Perez admit that this Court has supplemental over this case insofar as this case
   26   arises under 28 U.S.C. § 1367(a).
   27
   28
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                                      ANSWER TO COMPLAINT
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    1                                        II.   VENUE
    2         3.     Answering paragraph 3 of the Complaint, insofar as the allegations of
    3   this paragraph contain legal conclusions, no answer is required. To the extent an
    4   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    5   Perez admit that venue is proper.
    6                                       III.   PARTIES
    7         4.     Answering paragraph 4 of the Complaint, Officers Herrera, McCaskill,
    8   McShane, Pedroza, Crabtree and Perez are without sufficient knowledge or
    9   information to form a belief as to the truth of the allegations, and on that basis deny
   10   each and every allegation contained therein.
   11         5.     Answering paragraph 5 of the Complaint, Officers Herrera, McCaskill,
   12   McShane, Pedroza, Crabtree and Perez are without sufficient knowledge or
   13   information to form a belief as to the truth of the allegations, and on that basis deny
   14   each and every allegation contained therein.
   15         6.     Answering paragraph 6 of the Complaint, Officers Herrera, McCaskill,
   16   McShane, Pedroza, Crabtree and Perez are without sufficient knowledge or
   17   information to form a belief as to the truth of the allegations, and on that basis deny
   18   each and every allegation contained therein.
   19         7.     Answering paragraph 7 of the Complaint, Officers Herrera, McCaskill,
   20   McShane, Pedroza, Crabtree and Perez are without sufficient knowledge or
   21   information to form a belief as to the truth of the allegations, and on that basis deny
   22   each and every allegation contained therein.
   23         8.     Answering paragraph 8 of the Complaint, Officers Herrera, McCaskill,
   24   McShane, Pedroza, Crabtree and Perez admit that they were employed by the
   25   Fullerton Police Department at the time of the events alleged. Except as so
   26   expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
   27   Perez deny each and every allegation contained in paragraph 8 of the Complaint.
   28         9.     Answering paragraph 9 of the Complaint, Officers Herrera, McCaskill,
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                                      ANSWER TO COMPLAINT
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    1   McShane, Pedroza, Crabtree and Perez are without sufficient knowledge or
    2   information to form a belief as to the truth of the allegations, and on that basis deny
    3   each and every allegation contained therein.
    4         10.     Answering paragraph 10 of the Complaint, Officers Herrera,
    5   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    6   knowledge or information to form a belief as to the truth of the allegations, and on
    7   that basis deny each and every allegation contained therein.
    8         11.     Answering paragraph 11 of the Complaint, Officers Herrera,
    9   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
   10   knowledge or information to form a belief as to the truth of the allegations, and on
   11   that basis deny each and every allegation contained therein.
   12               IV.   EXHAUSTION OF ADMINISTRATIVE REMEDIES
   13         12.     Answering paragraph 12 of the Complaint, Officers Herrera,
   14   McCaskill, McShane, Pedroza, Crabtree and Perez admit that the City of Fullerton
   15   received a Claim from Plaintiffs. Except as so expressly admitted, Officers Herrera,
   16   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
   17   contained in paragraph 12 of the Complaint.
   18                            V.     STATEMENT OF FACTS
   19         13.     Answering paragraph 13 of the Complaint, Officers Herrera,
   20   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
   21   knowledge or information to form a belief as to the truth of the allegations, and on
   22   that basis deny each and every allegation contained therein.
   23         14.     Answering paragraph 14 of the Complaint, Officers Herrera,
   24   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
   25   knowledge or information to form a belief as to the truth of the allegations, and on
   26   that basis deny each and every allegation contained therein.
   27         15.     Answering paragraph 15 of the Complaint, Officers Herrera,
   28   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
                                                 -4-
                                      ANSWER TO COMPLAINT
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    1   knowledge or information to form a belief as to the truth of the allegations, and on
    2   that basis deny each and every allegation contained therein.
    3         16.    Answering paragraph 16 of the Complaint, Officers Herrera,
    4   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    5   knowledge or information to form a belief as to the truth of the allegations, and on
    6   that basis deny each and every allegation contained therein.
    7         17.    Answering paragraph 17 of the Complaint, Officers Herrera,
    8   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    9   knowledge or information to form a belief as to the truth of the allegations, and on
   10   that basis deny each and every allegation contained therein.
   11         18.    Answering paragraph 18 of the Complaint, Officers Herrera,
   12   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
   13   knowledge or information to form a belief as to the truth of the allegations, and on
   14   that basis deny each and every allegation contained therein.
   15         19.    Answering paragraph 19 of the Complaint, Officers Herrera,
   16   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
   17   knowledge or information to form a belief as to the truth of the allegations, and on
   18   that basis deny each and every allegation contained therein.
   19         20.    Answering paragraph 20 of the Complaint, Officers Herrera,
   20   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
   21   knowledge or information to form a belief as to the truth of the allegations, and on
   22   that basis deny each and every allegation contained therein.
   23         21.    Answering paragraph 21 of the Complaint, Officers Herrera,
   24   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
   25   knowledge or information to form a belief as to the truth of the allegations, and on
   26   that basis deny each and every allegation contained therein.
   27         22.    Answering paragraph 22 of the Complaint, Officers Herrera,
   28   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
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                                     ANSWER TO COMPLAINT
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    1   knowledge or information to form a belief as to the truth of the allegations, and on
    2   that basis deny each and every allegation contained therein.
    3         23.    Answering paragraph 23 of the Complaint, Officers Herrera,
    4   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    5   knowledge or information to form a belief as to the truth of the allegations, and on
    6   that basis deny each and every allegation contained therein.
    7         24.    Answering paragraph 24 of the Complaint, Officers Herrera,
    8   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    9   knowledge or information to form a belief as to the truth of the allegations, and on
   10   that basis deny each and every allegation contained therein.
   11         25.    Answering paragraph 25 of the Complaint, Officers Herrera,
   12   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
   13   knowledge or information to form a belief as to the truth of the allegations, and on
   14   that basis deny each and every allegation contained therein.
   15         26.    Answering paragraph 26 of the Complaint, Officers Herrera,
   16   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
   17   knowledge or information to form a belief as to the truth of the allegations, and on
   18   that basis deny each and every allegation contained therein.
   19         27.    Answering paragraph 27 of the Complaint, Officers Herrera,
   20   McCaskill, McShane, Pedroza, Crabtree and Perez admit that the Fullerton Police
   21   Department received a call for service on March 23, 2019 from the residence.
   22   Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez are without
   23   sufficient knowledge or information to form a belief as to the truth of the remaining
   24   allegations in the paragraph, and on that basis deny each and every allegation
   25   contained therein.
   26         28.    Answering paragraph 28 of the Complaint, Officers Herrera,
   27   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
   28   knowledge or information to form a belief as to the truth of the allegations, and on
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                                     ANSWER TO COMPLAINT
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    1   that basis deny each and every allegation contained therein.
    2         29.    Answering paragraph 29 of the Complaint, Officers Herrera,
    3   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    4   knowledge or information to form a belief as to the truth of the allegations, and on
    5   that basis deny each and every allegation contained therein.
    6                     ASSERTION OF RIGHTS AND WARNING
    7         30.    Answering paragraph 30 of the Complaint, Officers Herrera,
    8   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    9   knowledge or information to form a belief as to the truth of the allegations, and on
   10   that basis deny each and every allegation contained therein.
   11         31.    Answering paragraph 31 of the Complaint, Officers Herrera,
   12   McCaskill, McShane, Pedroza, Crabtree and Perez admit that Detective Pedroza is
   13   a member of the Fullerton Police Department. Except as so expressly admitted,
   14   Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez deny each and
   15   every allegation contained in paragraph 31 of the Complaint.
   16         32.    Answering paragraph 32 of the Complaint, Officers Herrera,
   17   McCaskill, McShane, Pedroza, Crabtree and Perez admit that Detective Pedroza
   18   spoke with Michael Fell telephonically on March 25, 2019. Except as so expressly
   19   admitted, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez
   20   deny each and every allegation contained in paragraph 32 of the Complaint.
   21         33.    Answering paragraph 33 of the Complaint, Officers Herrera,
   22   McCaskill, McShane, Pedroza, Crabtree and Perez admit that Detective Pedroza
   23   spoke to Michael Fell telephonically on March 25, 2019 regarding James Toman’s
   24   welfare. Except as so expressly admitted, Officers Herrera, McCaskill, McShane,
   25   Pedroza, Crabtree and Perez deny each and every allegation contained in paragraph
   26   33 of the Complaint.
   27         34.    Answering paragraph 34 of the Complaint, Officers Herrera,
   28   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
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                                     ANSWER TO COMPLAINT
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    1   knowledge or information to form a belief as to the truth of the allegations, and on
    2   that basis deny each and every allegation contained therein.
    3         35.    Answering paragraph 35 of the Complaint, Officers Herrera,
    4   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    5   knowledge or information to form a belief as to the truth of the allegations, and on
    6   that basis deny each and every allegation contained therein.
    7         36.    Answering paragraph 36 of the Complaint, Officers Herrera,
    8   McCaskill, McShane, Pedroza, Crabtree and Perez admit that Detective Pedroza
    9   spoke to Michael Fell telephonically on March 25, 2019 regarding a possible
   10   warrant. Except as so expressly admitted, Officers Herrera, McCaskill, McShane,
   11   Pedroza, Crabtree and Perez deny each and every allegation contained in paragraph
   12   36 of the Complaint.
   13                                         ENTRY
   14         37.    Answering paragraph 37 of the Complaint, Officers Herrera,
   15   McCaskill, McShane, Pedroza, Crabtree and Perez admit that the Fullerton Police
   16   were present at the subject property on April 2, 2019, and admit that Corporal
   17   McShane spoke to Lourdes on April 2, 2019. Except as so expressly admitted,
   18   Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez deny each and
   19   every allegation contained in paragraph 37 of the Complaint.
   20         38.    Answering paragraph 38 of the Complaint, Officers Herrera,
   21   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
   22   knowledge or information to form a belief as to the truth of the allegations, and on
   23   that basis deny each and every allegation contained therein.
   24         39.    Answering paragraph 39 of the Complaint, Officers Herrera,
   25   McCaskill, McShane, Pedroza, Crabtree and Perez admit that the Fullerton Police
   26   were present at the subject property on April 2, 2019, and admit that Corporal
   27   McShane began to break down the subject door after denial of entry. Except as so
   28   expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
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                                     ANSWER TO COMPLAINT
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    1   Perez deny each and every allegation contained in paragraph 39 of the Complaint.
    2         40.    Answering paragraph 40 of the Complaint, insofar as the allegations of
    3   this paragraph contain legal conclusions, no answer is required. To the extent an
    4   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    5   Perez admit that the Fullerton Police were present at the subject property on April
    6   2, 2019, admit that Corporal McShane began to break down the subject door after
    7   denial of entry, and admit that Plaintiffs were escorted from the property. Except as
    8   so expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree
    9   and Perez deny each and every allegation contained in paragraph 40 of the
   10   Complaint.
   11         41.    Answering paragraph 41 of the Complaint, insofar as the allegations of
   12   this paragraph contain legal conclusions, no answer is required. To the extent an
   13   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
   14   Perez admit that the Fullerton Police were present at the subject property on April
   15   2, 2019, and admit that Antonio Paredes was escorted from the property. Except as
   16   so expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree
   17   and Perez deny each and every allegation contained in paragraph 41 of the
   18   Complaint.
   19         42.    Answering paragraph 42 of the Complaint, Officers Herrera,
   20   McCaskill, McShane, Pedroza, Crabtree and Perez admit that Michael Fell arrived
   21   at the property. Except as so expressly admitted, Officers Herrera, McCaskill,
   22   McShane, Pedroza, Crabtree and Perez deny each and every allegation contained in
   23   paragraph 42 of the Complaint.
   24         43.    Answering paragraph 43 of the Complaint, insofar as the allegations of
   25   this paragraph contain legal conclusions, no answer is required. To the extent an
   26   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
   27   Perez admit that the Fullerton Police interviewed James Toman on April 2, 2019,
   28   and admit that Lourdes Toman was escorted to a police vehicle. Except as so
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                                     ANSWER TO COMPLAINT
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     1   expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
     2   Perez deny each and every allegation contained in paragraph 43 of the Complaint.
     3         44.    Answering paragraph 44 of the Complaint, insofar as the allegations of
     4   this paragraph contain legal conclusions, no answer is required. To the extent an
     5   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
     6   Perez admit that Plaintiffs were transported to the Fullerton Police Department.
     7   Except as so expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza,
     8   Crabtree and Perez deny each and every allegation contained in paragraph 44 of the
     9   Complaint.
    10         45.    Answering paragraph 45 of the Complaint, Officers Herrera,
    11   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    12   knowledge or information to form a belief as to the truth of the allegations, and on
    13   that basis deny each and every allegation contained therein.
    14         46.    Answering paragraph 46 of the Complaint, Officers Herrera,
    15   McCaskill, McShane, Pedroza, Crabtree and Perez admit that Lt. Hines spoke with
    16   Sereena Ortiz-Castro. Except as so expressly admitted, Officers Herrera, McCaskill,
    17   McShane, Pedroza, Crabtree and Perez deny each and every allegation contained in
    18   paragraph 46 of the Complaint.
    19         47.    Answering paragraph 47 of the Complaint, Officers Herrera,
    20   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    21   knowledge or information to form a belief as to the truth of the allegations, and on
    22   that basis deny each and every allegation contained therein.
    23         48.    Answering paragraph 48 of the Complaint, Officers Herrera,
    24   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    25   knowledge or information to form a belief as to the truth of the allegations, and on
    26   that basis deny each and every allegation contained therein.
    27         49.    Answering paragraph 49 of the Complaint, Officers Herrera,
    28   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
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                                      ANSWER TO COMPLAINT
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     1   knowledge or information to form a belief as to the truth of the allegations, and on
     2   that basis deny each and every allegation contained therein.
     3         50.    Answering paragraph 50 of the Complaint, Officers Herrera,
     4   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
     5   knowledge or information to form a belief as to the truth of the allegations, and on
     6   that basis deny each and every allegation contained therein.
     7
                                              CLAIMS
     8
                                   FIRST CLAIM FOR RELIEF
     9
               51.    Paragraph 51 of the Complaint merely incorporates by reference the
    10
         allegations of previous paragraphs. In answering paragraph 51, Officers Herrera,
    11
         McCaskill, McShane, Pedroza, Crabtree and Perez incorporate their respective
    12
         admissions and denials to each such paragraph enumerated above.
    13
               52.    Answering paragraph 52 of the Complaint, insofar as the allegations of
    14
         this paragraph contain legal conclusions, no answer is required. To the extent an
    15
         answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    16
         Perez deny each and every allegation contained in paragraph 52.
    17
               53.    Answering paragraph 53 of the Complaint, insofar as the allegations of
    18
         this paragraph contain legal conclusions, no answer is required. To the extent an
    19
         answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    20
         Perez deny each and every allegation contained in paragraph 53.
    21
               54.    Answering paragraph 54 of the Complaint, insofar as the allegations of
    22
         this paragraph contain legal conclusions, no answer is required. To the extent an
    23
         answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    24
         Perez deny each and every allegation contained in paragraph 54.
    25
               55.    Answering paragraph 55 of the Complaint, insofar as the allegations of
    26
         this paragraph contain legal conclusions, no answer is required. To the extent an
    27
         answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    28
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                                      ANSWER TO COMPLAINT
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     1   Perez admit to acting as sworn police officers of the City of Fullerton on April 2,
     2   2019. Except as so expressly admitted, Officers Herrera, McCaskill, McShane,
     3   Pedroza, Crabtree and Perez deny each and every other allegation contained in
     4   paragraph 55.
     5         56.    Answering paragraph 56 of the Complaint, insofar as the allegations of
     6   this paragraph contain legal conclusions, no answer is required. To the extent an
     7   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
     8   Perez deny each and every allegation contained in paragraph 56.
     9                           SECOND CLAIM FOR RELIEF
    10         57.    Paragraph 57 of the Complaint merely incorporates by reference the
    11   allegations of previous paragraphs. In answering paragraph 57, Officers Herrera,
    12   McCaskill, McShane, Pedroza, Crabtree and Perez incorporate their respective
    13   admissions and denials to each such paragraph enumerated above.
    14         58.    Answering paragraph 58 of the Complaint, Officers Herrera,
    15   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    16   contained therein.
    17         59.    Answering paragraph 59 of the Complaint, Officers Herrera,
    18   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    19   contained therein.
    20         60.    Answering paragraph 60 of the Complaint, Officers Herrera,
    21   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    22   contained therein.
    23         61.    Answering paragraph 61 of the Complaint, Officers Herrera,
    24   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    25   knowledge or information to form a belief as to the truth of the allegations, and on
    26   that basis deny each and every allegation contained therein.
    27         62.    Answering paragraph 62 of the Complaint, Officers Herrera,
    28   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
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                                      ANSWER TO COMPLAINT
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     1   contained therein.
     2                            THIRD CLAIM FOR RELIEF
     3         63.    Paragraph 63 of the Complaint merely incorporates by reference the
     4   allegations of previous paragraphs. In answering paragraph 63, Officers Herrera,
     5   McCaskill, McShane, Pedroza, Crabtree and Perez incorporate their respective
     6   admissions and denials to each such paragraph enumerated above.
     7         64.    Answering paragraph 64 of the Complaint, insofar as the allegations of
     8   this paragraph contain legal conclusions, no answer is required. To the extent an
     9   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    10   Perez admit that Plaintiffs were transported to the Fullerton Police Department.
    11   Except as so expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza,
    12   Crabtree and Perez deny each and every allegation contained in paragraph 64 of the
    13   Complaint.
    14         65.    Answering paragraph 65 of the Complaint, insofar as the allegations of
    15   this paragraph contain legal conclusions, no answer is required. To the extent an
    16   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    17   Perez admit that Plaintiffs were transported to the Fullerton Police Department.
    18   Except as so expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza,
    19   Crabtree and Perez deny each and every allegation contained in paragraph 65 of the
    20   Complaint.
    21         66.    Answering paragraph 66 of the Complaint, insofar as the allegations of
    22   this paragraph contain legal conclusions, no answer is required. To the extent an
    23   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    24   Perez admit that Plaintiffs were transported to the Fullerton Police Department.
    25   Except as so expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza,
    26   Crabtree and Perez deny each and every allegation contained in paragraph 66 of the
    27   Complaint.
    28         67.    Answering paragraph 67 of the Complaint, insofar as the allegations of
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     1   this paragraph contain legal conclusions, no answer is required. To the extent an
     2   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
     3   Perez deny each and every allegation contained in paragraph 67.
     4         68.    Answering paragraph 68 of the Complaint, insofar as the allegations of
     5   this paragraph contain legal conclusions, no answer is required. To the extent an
     6   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
     7   Perez admit to acting as sworn police officers of the City of Fullerton on April 2,
     8   2019. Except as so expressly admitted, Officers Herrera, McCaskill, McShane,
     9   Pedroza, Crabtree and Perez deny each and every allegation contained in paragraph
    10   68 of the Complaint.
    11         69.    Answering paragraph 69 of the Complaint, insofar as the allegations of
    12   this paragraph contain legal conclusions, no answer is required. To the extent an
    13   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    14   Perez deny each and every allegation contained in paragraph 69.
    15                           FOURTH CLAIM FOR RELIEF
    16         70.    Paragraph 70 of the Complaint merely incorporates by reference the
    17   allegations of previous paragraphs. In answering paragraph 70, Officers Herrera,
    18   McCaskill, McShane, Pedroza, Crabtree and Perez incorporate their respective
    19   admissions and denials to each such paragraph enumerated above.
    20         71.    Answering paragraph 71 of the Complaint, Officers Herrera,
    21   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    22   contained therein.
    23         72.    Answering paragraph 71 of the Complaint, Officers Herrera,
    24   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    25   contained therein.
    26         73.    Answering paragraph 73 of the Complaint, Officers Herrera,
    27   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    28   knowledge or information to form a belief as to the truth of the allegations, and on
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     1   that basis deny each and every allegation contained therein.
     2         74.    Answering paragraph 74 of the Complaint, Officers Herrera,
     3   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
     4   contained therein.
     5                             FIFTH CLAIM FOR RELIEF
     6         75.    Paragraph 75 of the Complaint merely incorporates by reference the
     7   allegations of previous paragraphs. In answering paragraph 75, Officers Herrera,
     8   McCaskill, McShane, Pedroza, Crabtree and Perez incorporate their respective
     9   admissions and denials to each such paragraph enumerated above.
    10         76.    Answering paragraph 76 of the Complaint, insofar as the allegations of
    11   this paragraph contain legal conclusions, no answer is required. To the extent an
    12   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    13   Perez deny each and every allegation contained in paragraph 76.
    14         77.    Answering paragraph 77 of the Complaint, insofar as the allegations of
    15   this paragraph contain legal conclusions, no answer is required. To the extent an
    16   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    17   Perez deny each and every allegation contained in paragraph 77.
    18         78.    Answering paragraph 78 of the Complaint, insofar as the allegations of
    19   this paragraph contain legal conclusions, no answer is required. To the extent an
    20   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    21   Perez deny each and every allegation contained in paragraph 78.
    22         79.    Answering paragraph 79 of the Complaint, insofar as the allegations of
    23   this paragraph contain legal conclusions, no answer is required. To the extent an
    24   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    25   Perez admit to acting as sworn police officers of the City of Fullerton on April 2,
    26   2019. Except as so expressly admitted, Officers Herrera, McCaskill, McShane,
    27   Pedroza, Crabtree and Perez deny each and every allegation contained in paragraph
    28   79 of the Complaint.
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     1         80.    Answering paragraph 80 of the Complaint, insofar as the allegations of
     2   this paragraph contain legal conclusions, no answer is required. To the extent an
     3   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
     4   Perez deny each and every allegation contained in paragraph 80.
     5                             SIXTH CLAIM FOR RELIEF
     6         81.    Paragraph 81 of the Complaint merely incorporates by reference the
     7   allegations of previous paragraphs. In answering paragraph 81, Officers Herrera,
     8   McCaskill, McShane, Pedroza, Crabtree and Perez incorporate their respective
     9   admissions and denials to each such paragraph enumerated above.
    10         82.    Answering paragraph 82 of the Complaint, Officers Herrera,
    11   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    12   contained therein.
    13         83.    Answering paragraph 83 of the Complaint, Officers Herrera,
    14   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    15   contained therein.
    16         84.    Answering paragraph 84 of the Complaint, Officers Herrera,
    17   McCaskill, McShane, Pedroza, Crabtree and deny each and every allegation
    18   contained therein.
    19         85.    Answering paragraph 85 of the Complaint, Officers Herrera,
    20   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    21   knowledge or information to form a belief as to the truth of the allegations, and on
    22   that basis deny each and every allegation contained therein.
    23         86.    Answering paragraph 86 of the Complaint, Officers Herrera,
    24   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    25   contained therein.
    26                           SEVENTH CLAIM FOR RELIEF
    27        87.     Paragraph 87 of the Complaint merely incorporates by reference the
    28   allegations of previous paragraphs. In answering paragraph 87, Officers Herrera,
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     1   McCaskill, McShane, Pedroza, Crabtree and Perez incorporate their respective
     2   admissions and denials to each such paragraph enumerated above.
     3        88.     Answering paragraph 88 of the Complaint, insofar as the allegations of
     4   this paragraph contain legal conclusions, no answer is required. To the extent an
     5   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
     6   Perez admit that Plaintiffs were transported to the Fullerton Police Department.
     7   Except as so expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza,
     8   Crabtree and Perez deny each and every allegation contained in paragraph 88 of the
     9   Complaint.
    10        89.     Answering paragraph 89 of the Complaint, insofar as the allegations of
    11   this paragraph contain legal conclusions, no answer is required. To the extent an
    12   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    13   Perez admit that Plaintiffs were transported to the Fullerton Police Department.
    14   Except as so expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza,
    15   Crabtree and Perez deny each and every allegation contained in paragraph 89 of the
    16   Complaint.
    17        90.     Answering paragraph 90 of the Complaint, insofar as the allegations of
    18   this paragraph contain legal conclusions, no answer is required. To the extent an
    19   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    20   Perez admit that Plaintiffs were transported to the Fullerton Police Department.
    21   Except as so expressly admitted, Officers Herrera, McCaskill, McShane, Pedroza,
    22   Crabtree and Perez deny each and every allegation contained in paragraph 90 of the
    23   Complaint.
    24        91.     Answering paragraph 91 of the Complaint, insofar as the allegations of
    25   this paragraph contain legal conclusions, no answer is required. To the extent an
    26   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    27   Perez deny each and every allegation contained in paragraph 91.
    28        92.     Answering paragraph 92 of the Complaint, insofar as the allegations of
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     1   this paragraph contain legal conclusions, no answer is required. To the extent an
     2   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
     3   Perez admit to acting as sworn police officers of the City of Fullerton on April 2,
     4   2019. Except as so expressly admitted, Officers Herrera, McCaskill, McShane,
     5   Pedroza, Crabtree and Perez deny each and every allegation contained in paragraph
     6   92 of the Complaint.
     7        93.     Answering paragraph 93 of the Complaint, insofar as the allegations of
     8   this paragraph contain legal conclusions, no answer is required. To the extent an
     9   answer is required, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    10   Perez deny each and every allegation contained in paragraph 93.
    11                           EIGHTH CLAIM FOR RELIEF
    12         94.    Paragraph 94 of the Complaint merely incorporates by reference the
    13   allegations of previous paragraphs. In answering paragraph 94, Officers Herrera,
    14   McCaskill, McShane, Pedroza, Crabtree and Perez incorporate their respective
    15   admissions and denials to each such paragraph enumerated above.
    16         95.    Answering paragraph 95 of the Complaint, Officers Herrera,
    17   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    18   contained therein.
    19         96.    Answering paragraph 96 of the Complaint, Officers Herrera,
    20   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    21   contained therein.
    22         97.    Answering paragraph 97 of the Complaint, Officers Herrera,
    23   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    24   contained therein.
    25         98.    Answering paragraph 98 of the Complaint, Officers Herrera,
    26   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    27   knowledge or information to form a belief as to the truth of the allegations, and on
    28   that basis deny each and every allegation contained therein.
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     1         99.    Answering paragraph 99 of the Complaint, Officers Herrera,
     2   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
     3   contained therein.
     4                            NINTH CLAIM FOR RELIEF
     5         100. Paragraph 100 of the Complaint merely incorporates by reference the
     6   allegations of previous paragraphs. In answering paragraph 100, Officers Herrera,
     7   McCaskill, McShane, Pedroza, Crabtree and Perez incorporate their respective
     8   admissions and denials to each such paragraph enumerated above.
     9         101. Answering paragraph 101 of the Complaint, Officers Herrera,
    10   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    11   contained therein.
    12         102. Answering paragraph 102 of the Complaint, Officers Herrera,
    13   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    14   contained therein.
    15         103. Answering paragraph 103 of the Complaint, Officers Herrera,
    16   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    17   knowledge or information to form a belief as to the truth of the allegations, and on
    18   that basis deny each and every allegation contained therein.
    19         104. Answering paragraph 104 of the Complaint, Officers Herrera,
    20   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    21   contained therein.
    22         105. Answering paragraph 105 of the Complaint, Officers Herrera,
    23   McCaskill, McShane, Pedroza, Crabtree and Perez deny each and every allegation
    24   contained therein.
    25                            TENTH CLAIM FOR RELIEF
    26         106. Paragraph 106 of the Complaint merely incorporates by reference the
    27   allegations of previous paragraphs. In answering paragraph 106, Officers Herrera,
    28   McCaskill, McShane, Pedroza, Crabtree and Perez incorporate their respective
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     1   admissions and denials to each such paragraph enumerated above.
     2         107. Answering paragraph 107 of the Complaint, Officers Herrera,
     3   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
     4   knowledge or information to form a belief as to the truth of the allegations, and on
     5   that basis deny each and every allegation contained therein.
     6         108. Answering paragraph 108 of the Complaint, Officers Herrera,
     7   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
     8   knowledge or information to form a belief as to the truth of the allegations, and on
     9   that basis deny each and every allegation contained therein.
    10         109. Answering paragraph 109 of the Complaint, Officers Herrera,
    11   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    12   knowledge or information to form a belief as to the truth of the allegations, and on
    13   that basis deny each and every allegation contained therein.
    14         110. Answering paragraph 110 of the Complaint, Officers Herrera,
    15   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    16   knowledge or information to form a belief as to the truth of the allegations, and on
    17   that basis deny each and every allegation contained therein.
    18         111. Answering paragraph 111 of the Complaint, Officers Herrera,
    19   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    20   knowledge or information to form a belief as to the truth of the allegations, and on
    21   that basis deny each and every allegation contained therein.
    22         112. Answering paragraph 112 of the Complaint, Officers Herrera,
    23   McCaskill, McShane, Pedroza, Crabtree and Perez are without sufficient
    24   knowledge or information to form a belief as to the truth of the allegations, and on
    25   that basis deny each and every allegation contained therein.
    26                             AFFIRMATIVE DEFENSES
    27         In addition to each of the admissions and denials set forth above, Officers
    28   Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez assert the following
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     1   affirmative defenses. The assertion of an affirmative defense shall not negate, by
     2   any means, Plaintiffs’ burden of proof on any element of their claims.
     3                           FIRST AFFIRMATIVE DEFENSE
     4                                    (Assumption of Risk)
     5         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
     6   Plaintiffs voluntarily assumed all risks, responsibility and liability for the alleged
     7   injuries or damages, if any, sustained by Plaintiffs.
     8
     9                         SECOND AFFIRMATIVE DEFENSE
    10                            (Failure to State a Claim for Relief)
    11         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    12   that neither the Complaint, nor any claim for relief asserted therein, asserts facts
    13   sufficient to constitute a claim against Officers Herrera, McCaskill, McShane,
    14   Pedroza, Crabtree and Perez.
    15                           THIRD AFFIRMATIVE DEFENSE
    16                                      (Lawful Conduct)
    17         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    18   that their conduct was at all times reasonable and lawful under the circumstances.
    19                         FOURTH AFFIRMATIVE DEFENSE
    20                               (Failure to Mitigate Damages)
    21         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    22   that that though under a duty to do so, Plaintiffs have failed and neglected to
    23   mitigate the alleged damages, and therefore cannot recover against Officers
    24   Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez whether as alleged, or
    25   otherwise. Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez are
    26   informed and believe and thereon allege that Plaintiffs failed to exercise their duty
    27   to mitigate and limit their damage claims as to Officers Herrera, McCaskill,
    28   McShane, Pedroza, Crabtree and Perez, which acts and omissions by Plaintiffs have
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     1   estopped Plaintiffs from asserting any claim for damages or seeking the relief
     2   requested against Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
     3   Perez .
     4                             FIFTH AFFIRMATIVE DEFENSE
     5                               (Legal and/or Proximate Cause)
     6         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
     7   that their acts were not the legal and/or proximate cause of any of the damages
     8   alleged by Plaintiffs.
     9                             SIXTH AFFIRMATIVE DEFENSE
    10                                      (Apportionment)
    11         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    12   that, if Plaintiffs suffered or sustained any loss or damage as alleged in the
    13   Complaint, such loss or damage was proximately caused and contributed to by
    14   persons or entities other than Officers Herrera, McCaskill, McShane, Pedroza,
    15   Crabtree and Perez. The liability of all defendants, named or unnamed, should be
    16   apportioned according to the relative degrees of fault, and the liability of Officers
    17   Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez should be reduced
    18   accordingly.
    19                            SEVENTH AFFIRMATIVE DEFENSE
    20                                          (Offset)
    21         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    22   that any amount for which they are held liable and owing to Plaintiffs is offset by
    23   any and all amounts recovered by Plaintiffs from any other responsible parties, such
    24   that Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez ’ liability
    25   will be reduced in an amount corresponding to those recovered by Plaintiffs from
    26   such other responsible parties.
    27   ///
    28   ///
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     1                         EIGHTH AFFIRMATIVE DEFENSE
     2                                         (Privilege)
     3         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
     4   that each and claim for relief contained in Plaintiffs’ Complaint is barred because
     5   their conduct was, at all times, justified and privileged.
     6                          NINTH AFFIRMATIVE DEFENSE
     7                                   (Speculative Damages)
     8         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
     9   that Plaintiffs’ claims for damages are barred, either in whole or in part, because
    10   Plaintiffs’ purported damages are remote, speculative and/or unavailable as a matter
    11   of law.
    12                          TENTH AFFIRMATIVE DEFENSE
    13                                    (Qualified Immunity)
    14         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    15   that the Complaint is barred because they are entitled to qualified immunity.
    16                       ELEVENTH AFFIRMATIVE DEFENSE
    17                   (Claims Barred Due to Exercise of Reasonable Force)
    18         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    19   that each and every claim for relief contained in Plaintiffs’ Complaint is barred
    20   because, at all times mentioned therein, Officers Herrera, McCaskill, McShane,
    21   Pedroza, Crabtree and Perez allege that no more force, if any, was used on
    22   Plaintiffs’ persons than was reasonable to effect detention, overcome any resistance
    23   thereto, prevent escape thereon, and prevent injury to Officers Herrera, McCaskill,
    24   McShane, Pedroza, Crabtree and Perez and others.
    25                        TWELFTH AFFIRMATIVE DEFENSE
    26       (Claims Barred Due to Reasonable and Probable Cause to Detain Plaintiffs)
    27         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    28   that each and every claim for relief contained in Plaintiffs’ Complaint is barred
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     1   because, at all times mentioned therein, Officers Herrera, McCaskill, McShane,
     2   Pedroza, Crabtree and Perez had reasonable and probable cause to detain and
     3   restrain Plaintiffs.
     4                          THIRTEENTH AFFIRMATIVE DEFENSE
     5                                 (No Integral Participation)
     6          Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
     7   that each and every claim for relief contained in Plaintiffs’ Complaint is barred
     8   because they were not an integral participant in the events alleged in the Complaint.
     9                          FOURTEENTH AFFIRMATIVE DEFENSE
    10                                         (No Malice)
    11          Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    12   that each and every claim for relief contained in Plaintiffs’ Complaint is barred
    13   because any and all acts taken by Officers Herrera, McCaskill, McShane, Pedroza,
    14   Crabtree and Perez occurred in the proper exercise of police powers without malice
    15   or intent to deprive any person of any right under the Constitution or any other law.
    16                          FIFTEENTH AFFIRMATIVE DEFENSE
    17                                (No Deliberate Indifference)
    18          Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    19   that each and every claim for relief contained in Plaintiffs’ Complaint is barred
    20   because any and all acts taken by Officers Herrera, McCaskill, McShane, Pedroza,
    21   Crabtree and Perez occurred in the proper exercise of police powers without
    22   deliberate indifference to any Plaintiffs’ rights.
    23                           SIXTEENTHAFFIRMATIVE DEFENSE
    24                                     (Discretionary Immunity)
    25          Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    26   that they are entitled to discretionary immunity for their actions as set forth in
    27   Government Code section 820.2.
    28   ///
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     1                    SEVENTEENTH AFFIRMATIVE DEFENSE
     2                              (Non-Negligent Enforcement of Law)
     3         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
     4   that they are absolved of liability because a public employee is not liable for his act
     5   or omission, exercising due care, in the execution or enforcement of any law
     6   pursuant to Government Code section 820.4.
     7                     EIGHTEENTH AFFIRMATIVE DEFENSE
     8                                     (Good Faith Immunity)
     9         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    10   that they are immune from liability for their actions because they acted in good
    11   faith, without malice, and under the apparent authority of an enactment that is
    12   unconstitutional, invalid or inapplicable, and they are not liable for an injury caused
    13   thereby except to the extent that he would have been liable had the enactment been
    14   constitutional, valid and applicable pursuant to Government Code section 820.6.
    15                      NINETEENTH AFFIRMATIVE DEFENSE
    16                                        (821.6 Immunity)
    17         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    18   they are immune from liability because a public employee is not liable for injury
    19   caused by his instituting or prosecuting any judicial or administrative proceeding
    20   within the scope of his employment, even if he acts maliciously and without
    21   probable cause pursuant to Government Code section 821.6.
    22                      TWENTIETH AFFIRMATIVE DEFENSE
    23                                        (821.8 Immunity)
    24         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
    25   they are immune from liability because a public employee is not liable for an injury
    26   arising out of his entry upon any property where such entry is expressly or
    27   impliedly authorized by law pursuant to Government Code section 821.8.
    28   ///
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     1                     TWENTY-FIRST AFFIRMATIVE DEFENSE
     2                     (Reservation of Additional Affirmative Defenses)
     3         Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and Perez allege
     4   that they are without sufficient information as to the nature and scope of Plaintiffs’
     5   claims for relief to be able to be fully assess and set forth all potentially-applicable
     6   affirmative defenses in this matter. Accordingly, Officers Herrera, McCaskill,
     7   McShane, Pedroza, Crabtree and Perez hereby reserve the right to allege additional
     8   affirmative defenses as further information becomes known.
     9                                 PRAYER FOR RELIEF
    10         WHEREFORE, Officers Herrera, McCaskill, McShane, Pedroza, Crabtree
    11   and Perez pray as follows:
    12         1.     That Plaintiffs take nothing by reason of their Complaint, and that
    13   judgment be entered in favor of Officers Herrera, McCaskill, McShane, Pedroza,
    14   Crabtree and Perez;
    15         2.     That Officers Herrera, McCaskill, McShane, Pedroza, Crabtree and
    16   Perez be awarded costs of suit and attorney's fees incurred in defense of this action
    17   pursuant to 42 U.S.C. § 1988 and other legal grounds; and
    18         3.     For such other and further relief as the Court deems just and proper.
    19
    20
                                                 Respectfully Submitted,
    21
    22
    23   Dated:       February 14, 2020          By: S/ Brooke A. Buchanan
                                                   James R. Touchstone, Esq.
    24                                             Brooke A. Buchanan, Esq.
                                                   Attorneys for Fullerton Police Officers
    25                                             Herrera, McCaskill, McShane, Pedroza,
                                                   Crabtree and Perez
    26
    27
    28
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